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                      UNITED STATES COURT OF INTERNATIONAL TRADE

 BEFORE:       THE HONORABLE TIMOTHY C. STANCEU, SENIOR JUDGE

________________________________________________
                                                :
PRINTING TEXTILES, LLC DBA BERGER TEXTILES, :
                                                :
      Plaintiff,                                :
                                                :
v.                                              : Court No. 23-00192
                                                :
UNITED STATES,                                  : PUBLIC DOCUMENT
                                                :
      Defendant,                                :
                                                :
ECKER TEXTILES, LLC,                            :
                                                :
       Defendant-Intervenor.                    :
________________________________________________:

PLAINTIFF’S REPLY TO DEFENDANT’S AND DEFENDANT-INTERVENOR’S
OPPOSITION TO PLAINTIFF’S RULE 56.2 MOTION FOR JUDGMENT UPON THE
                         AGENCY RECORD


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Date: June 24, 2024
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  I.      INTRODUCTION

          On behalf of Plaintiff, Printing Textiles, LLC dba Berger Textiles (“Berger”), we

respectfully submit this reply to the response briefs of Defendant, United States, and

Defendant-Intervenor, Ecker Textiles, LLC (“Ecker”). See Defendant’s Response to

Plaintiff’s Motion For Judgment On The Agency Record, April 25, 2024, ECF No. 20

(“Def.’s Resp. Br.”) and Response Brief of Defendant-Intervenor Ecker Textiles, LLC to

Plaintiff’s Motion For Judgment on the Agency Record, April 25, 2024, ECF No. 21

(“Ecker’s Resp. Br.”), respectively. At the outset, Berger denies all allegations set forth in

the Def.’s Resp. Br. and Ecker’s Resp. Br. and Berger reasserts arguments made by Berger

in its Brief in Support of Plaintiff’s Rule 56.2 Motion for Judgment Upon the Agency

Record, February 26, 2024, ECF No. 19 (Pla.'s Br.)

 II.      SUMMARY OF ARGUMENT

          Berger asserts that Commerce unlawfully expanded the scope of the Order, that the

Order is void for vagueness and unconstitutional, and Berger’s CBM falls outside the scope of

the Order (i.e., the product is expressly not covered by the plain language of the scope of the

Order). The Scope Ruling is not otherwise supported by substantial evidence on the record

and/or is not in accordance with law. Responses by the respondents did not change these

conclusions.

III.      ARGUMENT

       A. Commerce Misapplied The Primary Criteria For Determining Scope Under 19
          C.F.R. § 351.225 By Failing To Consider The 19 C.F.R. § 351.225(k)(1) And
          Thereby Expanding The Scope Of The Order.

          Contrary to Commerce’s stance as pointed out by Defendant, when read in the

entirety, the plain meaning and context of the reference “designed to promote the



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adherence of artist materials” in the scope language compels a narrow interpretation of the

words “priming/coating”. Def.’s Resp. Br. 22.1 See also the same argument made by

Ecker. Ecker’s Resp. Br. 15. Otherwise, Commerce unlawfully renders the language as

"mere surplusage". AK Steel Corp. v. United States, 226 F.3d 1361, 1370 (Fed. Cir.

2000). Throughout this matter and this response brief Berger clearly demonstrates that

Commerce interpreted the scope in a manner that is contrary to its terms and Commerce

continually changed the scope of the Order. Def.’s Resp. Br. 22. Although Ecker believes

that the scope “language is explicit and unambiguous” and that “This description presents

a straightforward and objectively verifiable standard to identify in-scope merchandise: (1)

is the product a primed/coated canvas (2) to which has been applied a solution designed to

promote the adherence of artist materials, such as paint or ink, to the canvas fabric (3)

resulting in a tightly woven prepared painting and/or printing surface. Products meeting

these criteria are covered”, Ecker provides no response as to Commerce’s continuous

shifting language. Ecker’s Resp. Br. 12. Simply put, Commerce did not “carefully

considered the information presented by [Berger] and [] determined that the scope contains

language that includes, or ‘may be reasonably interpreted to include,’[CBM].” (quoting

Duferco Steel, 296 F.3d at 1094-95). Def.’s Resp. Br. 28-29, 35. Certainly Commerce’s

interpretation of designed to promote the adherence of artist materials is not “consistent

with how Commerce and the [International Trade Commission (“ITC”)] have interpreted

this term throughout the history of this proceeding.” Id. First, as explained in the Section

C. below, Commerce has unlawfully relied on ITC’s interpretation which has furthered



1
 Plaintiff references the Antidumping Public Record, ECF No. 15-2, as “P.R.”, and the
Antidumping Confidential Record as “C.R.”, ECF No. 15-3.

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scope expansion and offended void for vagueness principles. Second, contrary to

Defendant’s belief, Commerce unlawfully expanded the Order because it relied on flawed

(k)(1) sources to interpret the plain language of the scope as it relates to the

priming/coating requirement. Id. at 30. It cannot be said that Commerce properly used

these sources under 19 C.F.R. 351.225(k)(1) to interpret, but rather Commerce expanded

the Order. Id. The record is riddled with such expansions as evidenced by Berger. Pla.'s

Br. at 12-20. A conclusory “provide(s) additional clarity” reasoning does not lawfully

support Commerce’s decision. Def.’s Resp. Br. 32. Nor does Commerce’s justification for

the continual shifts as “over time” “whether a specific product falls within the scope” …

by taking into consideration … any prior applicable analyses conducted of the scope”. P.R.

at 9. Contrary to Commerce’s belief, past interpretive rulings on whether a product falls

within the scope do result in an increasingly vague scope. P.R. 23 at 9. “Past rulings and

reliance upon § 351.225(k)(1) cannot save a scope determination that is based on an

unreasonable interpretation of the scope language.” Whirlpool Corp. v. United States, 144

F.Supp.3d 1296, 1303 (Ct. Int'l Trade 2016). In light of the shifts, Commerce was required

to elevate, consider primary other secondary sources, such as dictionary definitions. Def.’s

Resp. Br. 29. None of the parties in the instant matter provided a “rationale [that is] not be

arbitrary, capricious, or an abuse of discretion.” Wheatland Tube Co. v. United States, 161

F.3d 1365, 1369 (Fed. Cir. 1998). Also relevant, To no avail, somehow Commerce tries to

save the day by stating that Berger and other parties should have challenged the same

rulings where the parties received no notice and were not a parties to the actions. P.R. 23 at

9, Def.’s Resp. Br. 31. There can be no other reason for the continual shifts than the

inevitable scope creep. Def.’s Resp. Br. 31. Indeed, again, the record is riddled with



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instances where Commerce unlawfully added new characteristics to the scope. Def.’s Resp.

Br. 32, Pla.'s Br. at 12-20. Although Ecker stated that “The plain language of the Order on

Artist Canvas unambiguously describes Berger Textiles’ CBM” (Ecker’s Resp. Br. 13), it

seems too that Ecker has fallen for the scope creep. It states that “Berger Textiles' own

scope request establishes that CBM precisely meets the criteria for coverage. … made of

polyester fabric … that has been coated for use as printing media. … CBM thus qualifies

as coated canvas, with the coating used on it to provide ink transfer properties. … it

involves application of “multiple coatings to the polyester” to permit ink, one of the

specifically-identified “artist materials”, to adhere. … The description in United States

Patent 5,853,899 further corroborates that CBM's coating is intended for printer ink

receptivity. … It suffices for coverage that a fabric is coated with ‘a solution, designed to

promote the adherence of artist materials. … The argument appears to be premised on the

faulty notion that in-scope products must have a paint-receptive first coating.” Ecker’s

Resp. Br. 12-15, 23.

        Moreover, the “generally known”, photographs and descriptions from etailers

demonstrate Commerce’s scope creep with absurd results and are relevant as such. Pla.'s

Br. at 22-23. Contrary to Defendant’s position, the Court should consider the absurd facts.

This Court and others in this circuit allow “generally known” facts. “[A] court may, at any

stage of the proceeding, take judicial notice of any fact “not subject to reasonable dispute

because: (1) it is generally known within the trial court's territorial jurisdiction; or (2) can

be accurately and readily determined from sources whose accuracy cannot reasonably be

questioned.” Fed.R.Evid. 201(b), (d). The court may take judicial notice on its own without

a request, but “must take judicial notice if a party requests it and the court is supplied with



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the necessary information.” Fed.R.Evid. 201(c).” Tri Union Frozen Prods., Inc. v. United

States, 161 F.Supp.3d 1333, 1336 (Ct. Int'l Trade 2016). The Axiom Res. Mgmt., Inc. relied

upon by Defendant concerned Commerce procedures that are arguably more formal,

including the administrative record being defined. Def.’s Resp. Br. 32. 19 C.F.R. §

351.104(a)(1) (defining the administrative record). Moreover, Commerce gave no

opportunity to provide additional evidence to support its absurd argument. “An incomplete

record will frustrate judicial review when the absent materials are ‘sufficiently intertwined

with the relevant inquiry’ so that ‘the decision can[not] be reviewed properly without’

them. [Floral Trade Council v. United States, 709 F. Supp. 229, 230 (CIT 1989).” Grupo

Acerero S.A. de C.V. v. United States, 615 F.Supp.3d 1339, 1345 (Ct. Int'l Trade 2023).

Importantly, Ecker did not object to the “generally known” facts.

       “The Adams Thermal Sys., Inc. case relied upon also stands in contrast to Berger’s

case. Def.’s Resp. Br. 32. There, “The reasoning of the Final Scope Ruling does not

compel the conclusion that the scrap shavings ATS describes, which are not produced so as

to achieve a specific shape or form, would be ‘aluminum extrusions’ as defined by the

scope language.” Adams Thermal Sys., Inc. v. United States, 279 F.Supp.3d 1195, 1208

(Ct. Int'l Trade 2017). Here, the final scope ruling places the etailer acrylic coated fabric,

the same description as Tara’s acrylic coated fabric, directly in the line of fire.

       Contrary to Berger’s assertions, Defendant argues that Tara and the agencies

discussed the meaning of neither ‘promote’ nor ‘adherence’ as it pertains to the scope of

the Order. Def.’s Resp. Br. 33. Berger is simply at a loss with its search that the terms

were indeed discussed. Defendant instead relies on unlawful language as discussed

throughout the matter and this response brief. Id. It is clear that Commerce has instead


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expanded the Order and caused the case to be void for vagueness. Commerce’s

interpretation of the scope and its determination that CBM is covered by the language of

the Order was not reasonable and is unsupported by substantial evidence. Id. at 33-34.

Simply put, Commerce unlawfully expanded the scope of the Order and Commerce's

scope interpretation exceeded the limits of a (k)(1) analysis and is unsupported by

substantial evidence.

   B. The Order and Commerce's Impermissibly Unlawful Interpretation Denied
      Berger Adequate Notice And Commerce Failed To Address Due Process
      Concerns Of Vague Language In The Scope Of The Order
       Berger disagrees with Defendant’s claim that Commerce’s interpretations of the

Order does not raise serious due process concerns because such vague and open-ended

language has caused absurd results in antidumping duties being imposed on importers

without adequate notice. Def.’s Resp. Br. 34. Throughout the matter and this response brief

Berger has consistently asserted that Commerce’s interpretation of the plain language of

the scope, its reliance on prior scope rulings, and its reliance on ITC determinations was

unlawful during its journey to clarify, interpret, and apply the plain language of the scope

of the Order. Id. at 34-35. Indeed, Berger was deprived of adequate notice and due process.

Id. Contrary to what Defendant argues, Berger clearly demonstrated that the Order is

vague and open-ended. Id. Berger listed out five instances in its initial brief to substantiate

its claim. Pla.'s Br. at 11, 15, 16, 17, 18. The “generally known” photographs and

descriptions add to the absurdity of Commerce’s behavior and should be considered as

discussed in the section above. Def.’s Resp. Br. 34. Also as discussed in the section above,

Commerce’s interpretive scope rulings do result in an unlawful increasingly vague scope

and do not provide clarity for the scope of the case. Id. Defendant again tries to rely on the

save the day assertion in the section above that neither Berger nor any other party

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challenged Commerce’s findings in those scope rulings. This irrelevant argument does not

supplant Commerce’s duty to follow the rules under 19 C.F.R. § 351.225. Certainly

Commerce did “nullify portions of [the] [O]rder’s scope language”. Allegheny Bradford

Corp. v. United States, 342 F. Supp. 2d 1172, 1190 (Ct. Int’l Trade 2004). Def.’s Resp. Br.

36. Concerning Defendant’s contentions with the Tai-Ao Aluminum (Taishan) Co. case,

Defendant misses the point. Id. With Commerce’s continual language shifting, it did not

write the Order with sufficient detail so as to provide Berger adequate notice. Pla.'s Br. at

26. As discussed in the section above, Adams Thermal Systems stands in opposite. Here the

final scope ruling places the etailer acrylic coated fabric, the same description as Tara’s

acrylic coated fabric, directly in the line of fire.

        Commerce’s interpretations of the Order raise serious due process concerns

because such vague and open-ended language has caused absurd results in antidumping

being imposed on importers without adequate notice. Respectfully, Berger requests

Commerce to find that it unlawfully expanded the scope of the Order and the Order is void

for vagueness and unconstitutional. Commerce’s consideration of Berger’s Scope Request

and determination that the scope contains language that includes, or “may be reasonably

interpreted to include” CBM is unlawful. Additionally, Commerce unlawfully expanded

the scope of the Order and Commerce's scope interpretation exceeded the limits of a (k)(1)

analysis and is unsupported by substantial evidence.

    C. Commerce’s Plain Language And K(1) Factor Analysis Of Order Scope
       Language Is Unreasonable, Arbitrary, And Not Supported By Law

        The respondents perpetuate the same deficiencies as Commerce in arguing that

Commerce’s scope determination is supported by substantial evidence and in accordance

with law. Def.’s Resp. Br. at 7, 10, 15, 27-28, Ecker’s Resp. Br. at 17-19. Simply put,

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contrary to Defendant, as demonstrated below, errored in its task of “examining the CBM

described in [Berger’s] Scope Request in the context of the language of the scope of the

Order” and its finding that “the description of the subject merchandise, coupled with the

sources described in 19 C.F.R. § 351.225(k)(1), dispositive as to whether CBM is

ultimately covered by the scope.” Id. at 10. Commerce’s cherry picking, as Defendant has

pointed out, led to an unlawful decision that “record evidence submitted by Berger

demonstrated that CBM is both primed/coated and meets the definition of an artist canvas”

because CBM’s priming/coating is “for the purpose of converting a fabric into a canvas”

and “is required to stiffen the fabric[,] giving it the stiffness properties of a canvas’ and

‘provides whiteness and higher opacity to the translucent polyester fabric.” Id. at 10-11.

Commerce obviously did not read Berger’s declaration in total. The declaration directly

contradicts Commerce’s cherry picking with the statements below:

        “The bottom priming/coating function is to stiffen the fabric and add opacity. It is a
        very thin layer and contributes only slightly to absorption of ink. It does not nor is
        it intended to provide adherence, adhesion of the ink. The fabric provides a
        smooth surface and it does not function to smooth the surface of 100% polyester
        fabric. On the other hand, for cotton and cotton/polyester blends, it can function to
        smooth the cotton fiber since the cotton is not uniform in thickness like polyester.
        Cotton and cotton/polyester canvas is regularly used as artistic canvas. 100%
        polyester canvas is commercial production canvas and is not suitable as artistic
        canvas. My testing shows clearly that the bottom priming/coating does not
        contribute to adherence.” P.R. 3 at 123-124, C.R. 1 at 123-124. (emphasis added).

        Defendant continues to perpetuate the flaw of not considering the crux of the scope

that artist canvas requires “Priming/coating includes the application of a solution, designed

to promote the adherence of artist materials”. It is of no consequence that that Berger

“repeatedly refers to CBM as a canvas in its Scope Request,” describes CBM as the “‘top-

seller for’ latex, UV, and solvent ink application to canvas,” “markets CBM for use as

‘canvas frames’ and ‘stretched canvas,’” and stated that it “sold [CBM] to companies that

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print onto the canvas.” Def.’s Resp. Br. at 11.

       Defendant continues to rely on Commerce’s cherry picking with its reliance on

“Berger also stated that ‘[i]t is common sense that ‘art reproduction’ can occur on’ the

coated side of the fabric.” Id. The full language clearly shows CBM contrary to it being a

one-sided fabric and is otherwise out of scope of the case:

       “ ‘Canvas’ is referenced in the data sheet as only general reference for what the
       product is, a coated fabric. There have been numerous scope rulings where ‘canvas’
       was found not to be in scope. See Impact Images and Global Textiles, for example.
       If Commerce makes an in-scope decision on a ‘canvas’ term only, it would be
       unlawfully expanding the scope of the Order as discussed above. It is common
       sense that ‘art reproduction’ can occur on either the coated or uncoated side of the
       fabric. Moreover, ‘art reproduction’ is only a ‘term of art’ used for marketing
       purposes, among other applications. As marketed as an ‘allrounder’ as stated
       above, depending on the end-use need and viability (i.e., some ink applications to
       the coated side are not viable) as discussed above, Berger customers can apply
       various inks to either side of the merchandise. As stated numerous times throughout
       this application, it is clear that the bottom priming/coating does not “promote the
       adherence” of artistic materials.” P.R. 3 at 39, C.R. 1 at 39.

Ecker too attempts to somehow connect marketing materials/product data to non-existent

characteristic (i.e. Priming/coating includes the application of a solution, designed to

promote the adherence of artist materials). Ecker’s Resp. Br. 13. Usable for any purpose,

including art reproduction or an ink jet claim, does cause the aforementioned requisite

characteristic. Ecker’s Resp. Br. 13, 19, 20-21. Ecker attempts to convert physical

characteristics lacking in Berger’s bottom priming/coating to supposed print canvas uses

under the scope of the case. Id. at 21-23. Certainly Berger’s CBM does not have a

priming/coating that: is a “specific coating formula”; are “compounds utilized in making

specialized latex paint”; is an acrylic latex gesso; is a “generations to come” gesso; resists

yellowing; preserves the canvas; has greater adhesion; and that protect the canvas fibers

against acidic deterioration with a buffered neutral PH sizing.” Pla.'s Br. at 28.



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       Defendant also misses the crux of the scope in relying on that “Commerce

reasonably found that this evidence submitted by Berger indicates that CBM is a ‘canvas

roll and/or printable canvas that is primed/coated and is a woven prepared painting and/or

printing surface.’ ” Def.’s Resp. Br. at 11. Ecker also misses the same crux. Ecker’s Resp.

Br. 15. As demonstrated throughout the entire matter, CBM’s priming/coating does not

include the application of a solution, designed to promote the adherence of artist materials.

Furthermore, the “woven prepared painting and/or printing surface” language is the typical

unlawful scope expansion and void for vagueness as shown throughout the matter.

       Defendant points out Commerce’s interpretation error based on “the Tara Print

Canvas Scope Ruling, in which Commerce determined that the print canvas at issue was

subject to the Order because ‘print canvases are specifically cited in the scope language as

an example of subject merchandise.’ ” Id. Berger has clearly shown Tara’s intentions that

print canvases requires priming/coating that includes the application of a solution,

designed to promote the adherence of artist materials. Pla.'s Br. at 28-30.

       Like Commerce, Defendant mistakenly relies on ITC interpretations regarding

“priming/coating” “promote” scope language as synonymous with “to accept”. Def.’s Resp.

Br. at 11. Berger has consistently held that Commerce has unlawfully relied on ITC’s

interpretation which has furthered scope expansion and offended void for vagueness

principles. Pla.'s Br. at 13. Moreover, the Defendant wrongly falls for Commerce’s

unlawful shifting interpretations that resulted in scope expansion and void for vagueness.

Certainly Commerce’s shifts “to accept”, “improves the receptivity”, “allow for

acceptance of”, “improve[] the receptivity of canvas to”, “increase[] the canvas’

receptivity to artist materials”, and “for a graphical purpose”, and “prepared the canvas to



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receive ink” caused the same and resulted in an unlawful decision.” Def.’s Resp. Br. at

12-13, Pla.'s Br. at 12-20. Contrary to Defendant’s belief, after considering the language

of the scope of the Order, primary interpretive sources, and Berger’s description of CBM,

in accordance with 19 C.F.R. § 351.225(k)(1), Commerce unlawfully determined that

CBM is subject to the Oder. Def.’s Resp. Br. at 13.

       Defendant argues that Commerce did not ignore Tara’s intent “Tara’s specific

acrylic latex ‘gesso’ bottom ‘adherence’ priming/coating formula is a prerequisite to artist

canvas under the Order”. Moreover, Ecker mistakenly believes that “It suffices for

coverage that a fabric is coated with ‘a solution, designed to promote the adherence of

artist materials.’ CBM is so coated. The scope language does not require it to be primed

with such a solution and Berger Textiles points to no textual support for such a

requirement.” Ecker’s Resp. Br. 15-16, 24. Tara’s intent, that Commerce ignored, cannot

be clearer based on its on admissions: “its ‘gesso’ is a ‘specific coating formula’ with

‘compounds utilized in making specialized latex paint’ … ‘You can't bake a cake with it,

and you can't build a house with it.’ … ‘It's critical to recognize that in order to

manufacture print canvas the exact same fabric, gesso and manufacturing process is

employed.’… ‘Print Canvas … manufactured in the same way, using the same equipment

and same materials, as other forms of Artist Canvas.’ … “Print Canvas is identical in all

respects to other Artist Canvas, except for the additional priming with in ink receptive

topcoat that some print canvas still undergoes, and is produced by the same process on the

same machinery.’ … ‘The top coat, when used, is applied to canvas that already meets the

definition of “artist canvas” because it previously has been coated with gesso’ … “Tara

Materials' gesso is composed of Latex, titanium dioxide (Ti02), calcium carbonate



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(CaCo3) and water. Tara Materials believes that all artist canvas gesso uses these

materials.’ ” C.R. at 26-27, 33-36 P.R. at 26-27, 33-36.

       Defendant, like Commerce, does not consider the relevance of two third party

testing performed by experts. Def.’s Resp. Br. at 14-15. Both third party experts stated that

CBM does not promote the adherence of artistic materials. C.R. at 26-27, 33-36 P.R. at 26-

27, 33-36. It is clear that the agency disregarded an expert of 29 years from the expert’s

declaration that no chemical analysis or standardized tests are available to measure

adherence. Def.’s Resp. Br. at 14-15. C.R. at 119-120, P.R. at 119-120. Moreover, “the

slightly to absorption of ink” (Def.’s Resp. Br. 15) declaration by the third-party expert

clearly is not relevant to the promote the adherence of artistic materials scope requirement.

First, Commerce is again cherry picking language. Below is the full language:

       “The bottom priming/coating function is to stiffen the fabric and add opacity. It is a
       very thin layer and contributes only slightly to absorption of ink. It does not nor is
       it intended to provide adherence, adhesion of the ink.”

Furthermore, the same expert stated over and over that CBM does not, in fact, promote

the adherence of artistic materials. C.R. at 121-124, P.R. at 121-124. The same agency

also knew that U.S. Customs and Border Protection tested the fabric only that it had a

coating but not a test for adherence. C.R. at 15, P.R. at 15. The same agency did not test

the physical characteristics such as in the Hand Truck cases. Bond St. v. United States,

774 F.Supp.2d 1251, 1252 (Ct. Int'l Trade 2011). In addition to Commerce’s

interpretation “contrary to the order’s terms” and that it did “change the scope of the

order”, there should be no “significant deference to Commerce’s interpretation of [the]

order scope.” Global Commodity Group LLC v. United States, 709 F.3d 1134, 1138 (Fed.

Cir. 2013). Additionally, the scope ruling under a clueless Commerce was hardly



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“particularly within the expertise of [Commerce].” Sandvik Steel Co. v. United States, 164

F.3d 596, 600 (Fed. Cir. 1998). Instead of considering the testing, it appears that

Commerce again unlawfully relied on its ITC interpretations and its erroneously made up

terms (“improves the receptivity of canvas”, “increases the canvas’ receptivity to artist

materials” “increase the canvas’ receptivity", “to accept paints or inks”, “creating ‘a

surface for the graphic presentation of painted or printed images”) that expanded the

Order and causes the case to be void for vagueness, as discussed above. Def.’s Resp. Br. at

15-16. Contrary to the Defendant and Commerce, the testing is highly relevant but

unlawfully not considered even after Commerce acknowledged that “the third-party

adherence testing results conclude that the CBM priming/coating solution does not

promote the adherence of ink” Id. Thus, Commerce’s decision was unreasonable, arbitrary,

and not supported by law with substantial evidence.

       Contrary to Defendant’s assertion that “Commerce found Berger’s own words

about its CBM” concerning a patent with an “ink receiving layer” somehow shows CBM

“to mean ‘allow for acceptance of,’ ‘improve[] the receptivity of canvas to,’ or ‘increase[]

the canvas’ receptivity to’ artist materials”, the assertion is patently false. Def.’s Resp.

Br. at 15. To the contrary, the patent demonstrates the existence of ink jet technology,

such as Berger’s, that does not promote the adherence of artistic materials. Pla.'s Br. at

36. Ecker stated that, “The [United States Patent 5,853,899] products it describes consist

of a ‘receiving medium comprising a substrate and an ink receiving layer.’ That statement

categorically establishes those products as artist canvas fitting the scope description.”

Ecker’s Resp. Br. 14. The patent discusses only the ink receptive top coat and not any

bottom priming/coating layer. Contrary to Ecker assertion that Berger has not explained a



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“fundamental contradiction between the patent’s coverage of ‘a substrate and an ink

receiving layer’ ” (Id., see also Id. at 20-21), Berger’s third-party expert declared that

“These canvases are made by first priming (bottom coat) for the purpose of converting a

fabric into a canvas. … The purpose of the top coat added to the primed (bottom coated)

side is to hold the pigments up on the surface thereby optimizing print quality, color, and

to enhance water resistance. … It does not nor is it intended to provide adherence,

adhesion of the ink.” C.R. 1 at 120-121, , P.R. 3 at 120-121. This is in opposite of Ecker’s

assertion that Berger, by “its own submission establishes the coating used on its products

as “a solution, designed to promote the adherence of artist materials, such as paint or ink,

to the fabric.” Ecker’s Resp. Br. 24. Thus, Ecker is not a manufacturer of the domestic

like product. Ecker’s Resp. Br. 4. See also Ecker’s related meritless patent ink jet

receiving mechanism arguments. Ecker’s Resp. Br. 18. See also Ecker’s related meritless

CBM's topcoat does promote arguments. Ecker’s Resp. Br. 18. Ecker instead tries to

deflect from the elephants in the room stating that Berger somehow has not applied

“substantial evidence” standard. Id. Not only did Berger succinctly describe the standard

in its initial brief, including the arbitrary and capricious standard (Pla.'s Br. at 10), Berger

went on to apply both standards as applicable in its briefs. The reweigh Commerce's fact

findings Ecker argument is completely meritless.

        Like Commerce in the Impact Images scope ruling, Defendant to attempts to rely

on Commerce’s expanding the scope of the Order and added confusion (open-ended

interpretation) to the “adherence” term by interchanging it with receptive/receptivity

terms as physical characteristics. Defendant missed that Commerce also introduced

“allow for acceptance” to physical characteristics. Def.’s Resp. Br. at 17, Pla.'s Br. at 15-



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16. Likewise in the Global Textile Blockout Fabric and Backlit Fabric scope rulings

where Commerce continued to expand the scope of the Order and caused confusion

(open-ended interpretation) to the “adherence” term by interchanging it with receptive /

receptivity terms and using the allow for acceptance language. Commerce yet again

muddied the waters by bringing in “add application” as additional physical

characteristics. Def.’s Resp. Br. at 17, Pla.'s Br. at 16-17. In the RV Print scope ruling.

Commerce yet again continued to expand the scope of the Order with its greatest leap

yet. Most, if not all of language the “Commerce’s Position” is unlawful and further

causing confusion (open-ended interpretation) to the absolute requirement that

“Priming/coating includes the application of a solution, designed to promote the

adherence of artist materials, such as paint or ink, to the fabric”. Instead, Commerce

focused on “canvas” wording / being canvas alone causing merchandise to be under the

Order, a new nongraphical purpose requirement, and a new uniform surface requirement,

all not listed in the Order or the Order’s history. Def.’s Resp. Br. at 17, Pla.'s Br. at 18-

19.

       It is clear that both Commerce and Defendant miss the crux of the matter for the

priming/coating requirement in stating “there is no requirement in the scope that the

priming/coating be located on a specific portion of the artist canvas”. Def.’s Resp. Br. at

18-19. Tara confirmed, as outlined in this section above, print canvas has its “gesso”

coating and an ink receptive topcoat. As previously stated in this matter, the facts are

consistent that CBM’s priming/coating does not “promote the adherence of artist

materials” and does not concern “receptivity” as alleged by Commerce and Defendant.

Def.’s Resp. Br. at 18-19. Berger has shown through its testing and third-party expert that



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CBM has a priming/coating and a top coating, neither of which promotes the adherence

of artist materials”. C.R. at 120-123, P.R. at 120-123. Ecker attempts to attack Berger’s

assertion:

       “Berger Textiles' brief merely states that ‘Commerce is again simply incorrect in
       terms of interpreting the scope language of the Order in terms of the CBM Scope
       Request. The facts are consistent that CBM’s priming/coating does not 'promote
       the adherence of artist materials' and does not concern 'receptivity'. Berger has
       shown through its testing and third-party experts that CBM has a priming/coating
       and a top coating, neither of which 'promote[s] the adherence of artist materials'.
       Merely stating that ‘Commerce is . . . incorrect’ is woefully insufficient under the
       substantial evidence standard. Commerce made point by point, record-based
       findings regarding CBM's attributes. Berger Textiles has shown no deficiencies in
       those findings.”

Def.’s Resp. Br. at 18-19. Clearly Berger showed deficiencies in Commerce’s findings

throughout its brief. As discussed further in this response brief, Berger demonstrates that

Commerce did not consider the relevance of two third party testing performed by experts

that both stated that CBM does not promote the adherence of artistic materials. Instead,

Commerce unlawfully relied on its ITC interpretations and its erroneously made up terms.

       Defendant asserts that “Berger never argued before Commerce ‘that CBM lacks a

priming/coating layer that is applied for graphical purposes’ ” or for receptivity of inks.

Def.’s Resp. Br. at 19. Ecker is also confused in believing there is a graphical

purpose/bottom priming/coating requirement and that Berger did not otherwise challenge

Commerce. Ecker’s Resp. Br. 16. Not only did Berger argue Commerce’s unlawful

additions of the graphical and receptivity requirement numerous times (Pla.'s Br. at 12-13,

15-19), Berger’s third-party expert declared that the first priming (bottom coat) stiffens the

fabric, provides whiteness and higher opacity, and absorbs water and glycol. Thus, the

bottom priming/coating does not ‘promote the adherence’ of the inks.” C.R. at 120, P.R. at

120.

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        Berger asserted that Commerce, although “there is no ‘use’ requirement expressly

stated in the scope”, unlawfully added “end-use restrictions” to its decision-making

process. Def.’s Resp. Br. at 20. Defendant is simply incorrect that Berger’s argument is

misplaced, it relied on numerous end-use restrictions. Id. As stated in its brief, Commerce

relied on many end-use restrictions during its review of k(2) factors for its k(1) analysis.

Pla.'s Br. at 31-32.

        Ecker asserts that, “Whatever differences there may be in the materials used for

coating Ecker Textiles’ products and CBM are irrelevant to the Order’s applicability.”

Ecker’s Resp. Br. at 20, 24-24. This directly contradicts the intention of Tara in k(1)

sources. Pla.'s Br. at 28-29. Among other similar intentions, Tara stated that “Print Canvas

… manufactured in the same way, using the same equipment and same materials, as other

forms of Artist Canvas.” (emphasis added). Id. It is clear that Ecker did not consider case

law recited in Berger’s initial brief that requires Commerce to give deference to Tara’s

intentions. Pla.'s Br. at 14. Instead, Ecker states that Berger did not “even attempt to argue

how and why those descriptions would in any way limit the descriptive language in the

order.” Ecker’s Resp. Br. at 20.

        Commerce did not conduct a comprehensive (k)(1) analysis of the record

evidence to reasonably determine that CBM is subject to the Order. Def.’s Resp. Br. at

20. This Court should not uphold Commerce’s determination because it is contrary to

the Order’s terms and changes the Order’s scope. Id. T his Court should not uphold

Commerce’s analysis under 19 C.F.R. § 351.225(k)(1).

        Commerce abandoned the interpretive framework unlawfully ignored substantial

evidence submitted by Tara from the original investigation, including the descriptions of



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the merchandise contained in the petition, the initial investigation, and the

Commission’s injury determinations that certain tempers were not subject to the

underlying investigation. Commerce also unlawfully ignored substantial evidence

submitted by Tara in its Scope Ruling. Commerce was required to address the (k)(1)

factors and failure to address these factors renders the Scope Ruling unlawful, and the

decision was unreasonable, arbitrary, capricious, and not supported by law with

substantial evidence. Commerce’s consideration of Berger’s Scope Request and

determination that the scope contains language that includes, or “may be reasonably

interpreted to include” CBM is unlawful. Lastly, in its Scope Request, Berger

demonstrated that the factors that Commerce is supposed to consider pursuant to the

“(k)(2) factors” would cause Berger’s CBM to be outside the scope of the Order, P.R.3

at 40, C.R.1 at 40. In its Scope Ruling, Commerce did not examine any of the (k)(2)

factors, P.R.23 at 14. Commerce’s failure to examine the (k)(2) factors renders its Scope

Ruling as unsupported by substantial evidence.

IV.    CONCLUSION AND RELIEF SOUGHT

       Wherefore, Plaintiff respectfully requests that the Court:

           a. enter judgment in its favor;

           b. declare with respect to the issues raised in this Complaint that the Order

               is void for vagueness and unconstitutional, that Commerce unlawfully

               expanded the scope of the Order, and Berger’s coated fabrics fall outside the

               scope of the Order (i.e., the product is expressly not covered by the plain

               language of the scope of the Order), and that the Scope Ruling is

               unsupported by substantial evidence and/or is otherwise not in



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              accordance with law;

          c. remand this matter to Commerce with instructions to issue determinations

              that Plaintiff’s CBM are excluded from the scope of the Order;

          d. Order CBP to refund Plaintiff any monies collected on its imports as a result

              of the Order;

          e. Award Plaintiff a judgment for costs, including reasonable attorney fees, in

              accordance with the Equal Access to Justice Act, 28 U.S.C. § 2412; and

          f. provide such other relief as the Court deems just and proper.

                                                    Respectfully submitted,
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Date: June 24, 2024




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                WORD COUNT CERTIFICATE OF COMPLIANCE

Pursuant to the U.S. Court of International Trade's Standard Chambers Procedures 2(B)(l ),

the undersigned ce1tifies that this brief complies with the word limitation requirement. The

word count for Plaintiff Berger Plaintiff’s Brief, as computed by KYL J. KIRBY,

ATTORNEY AND COUNSELOR AT LAW, P.C.'s word processing system (Microsoft

Word for 365), is 5,712 words.


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Date: June 24, 2024




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